                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN
                                   GREEN BAY DIVISION

TANYA NEUBAUER,

                                        Plaintiff,

                        vs.                                    Case No.: 1:20-cv-1466

INTEGRITY RECOVERY MANAGEMENT,
LLC; and SAMUEL PICCIONE,

                                     Defendants.

                        COMPLAINT FOR VIOLATIONS OF THE
                       FAIR DEBT COLLECTION PRACTICES ACT

       This action is brought by Plaintiff, TANYA NEUBAUER, against Defendants,

INTEGRITY RECOVERY MANAGEMENT, LLC (“IRM”) and SAMUEL PICCIONE

(“PICCIONE”), based on the following:

                              I.    PRELIMINARY STATEMENT

       1.       Plaintiff brings this action for the illegal practices of Defendants when attempting

to collect an alleged debt from her in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. §§ 1692-1692p.

       2.       Such practices include attempting to collect consumer debts by engaging in

conduct prohibited by, or failing to engage in conduct required by, the FDCPA.

       3.       The FDCPA regulates the behavior of “debt collectors” (including collection

agencies, collection attorneys, debt buyers) when attempting to collect a consumer debt.

Congress found “abundant evidence of the use of abusive, deceptive, and unfair debt collection

practices by many debt collectors” which “contribute to a number of personal bankruptcies,

marital instability, loss of jobs, and invasions of individual privacy.” 15 U.S.C. § 1692(a). The



                                                                       Page 1 of 9
            Case 1:20-cv-01466-WCG Filed 09/18/20 Page 1 of 9 Document 1
FDCPA was expressly adopted “to eliminate abusive debt collection practices by debt collectors,

to ensure that those debt collectors who refrain from using abusive debt collection practices are

not competitively disadvantaged, and to promote uniform State action to protect consumers

against debt collection abuses.” 15 U.S.C. § 1692(e).

       4.       The FDCPA, at 15 U.S.C. § 1692c, prohibits when and with whom a debt

collector may communicate when attempting to collect a debt and, at 15 U.S.C. § 1692b, limits

communications with third parties to the collection of “location information.”

       5.       The FDCPA is a strict liability statute, which provides for actual or statutory

damages upon the showing of one violation. McMahon v. LVNV Funding, LLC, 807 F.3d 872,

876 (7th Cir. 2015).

       6.       To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the

use of false, deceptive, and misleading collection letters and names a non-exhaustive list of

certain per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)-(16).

Among these per se violations are: false representations concerning the character, amount, or

legal status of any debt, 15 U.S.C. §1692e(2)(A); the threat to take any action that cannot legally

be taken or that is not intended to be taken, 15 U.S.C. § 1692e(5); and the use of any false

representation or deceptive means to collect or attempt to collect any debt or to obtain

information concerning a consumer, 15 U.S.C. § 1692e(10).

       7.       When collecting or attempting to collect a debt, the FDCPA bars a debt

collector’s use of: (a) false, deceptive, or misleading means or representations; and (c) unfair or

unconscionable means. 15 U.S.C. §§ 1692d, 1692e, and 1692f. Each of those Sections contain a

list of specific per se violations but they are nonexclusive and do not limit the general application

of each Section’s broad prohibitions.




                                                                       Page 2 of 9
            Case 1:20-cv-01466-WCG Filed 09/18/20 Page 2 of 9 Document 1
       8.       When the collection process starts, the FDCPA requires a debt collector to

provide a consumer with basic debt information and the consumer’s right to debt-verification. 15

U.S.C. § 1692g.

       9.       A debt collector’s conduct violates the FDCPA when viewed from the perspective

of an “unsophisticated debtor.” Gammon v. GC Servs. Ltd. P’ship, 27 F.3d 1254, 1257 (7th Cir.

1994). “The unsophisticated consumer is uninformed, naive, and trusting, but possesses

rudimentary knowledge about the financial world, is wise enough to read collection notices with

added care, possesses reasonable intelligence, and is capable of making basic logical deductions

and inferences.” Williams v. OSI Educ. Servs., Inc, 505 F.3d 675, 678 (7th Cir. 2007) (internal

editing notations and quotation marks omitted).

       10.      A single violation is sufficient to establish liability. Nielsen v. Dickerson, 307

F.3d 623, 640 (7th Cir. 2002).

       11.      When a debt collector fails to comply with the FDCPA “with respect to any

person,” it “is liable to such person in an amount equal to the sum of” “any actual damage

sustained,” “additional” or statutory damages, costs, and reasonable attorneys’ fees. Statutory

damages are limited: a plaintiff may recover no more than $1,000.

       12.      Plaintiff seeks such relief as is allowed under FDCPA including, without

limitation, statutory damages, attorney fees and costs.

                                         II.     PARTIES

       13.      NEUBAUER is a natural person who, at all times relevant to this lawsuit, was a

citizen of and resided in the City of Neenah, Winnebago County, Wisconsin.

       14.      At all times relevant to the factual allegations of this Complaint, IRM was a for-

profit limited liability corporation formed under the laws of the State of Nevada.



                                                                       Page 3 of 9
            Case 1:20-cv-01466-WCG Filed 09/18/20 Page 3 of 9 Document 1
       15.     On information and belief, IRM maintains its principal place of business at 7455

Arroyo Crossing Parkway, Suite 220, Las Vegas, NV 89113.

       16.     IRM’s registered agent in Nevada is LegalCorp Solutions, LLC, 2831 Saint Rose

Parkway, Suite 200-400, Henderson Nevada 89052-4840.

       17.     PICCIONE is a natural person who, at all times relevant to the factual allegations

of this Complaint, was the managing member of IRM.

       18.     On information and belief, PICCIONE maintains an address 4894 Mount View

Drive, Lockport, New York 14094.

                               III.   JURISDICTION & VENUE

       19.     Jurisdiction of this Court arises under 28 U.S.C. §§ 1331 and 1337.

       20.     Venue is appropriate in this federal district pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events giving rise to claims occurred within this federal judicial

district, and because Defendant is subject to personal jurisdiction in the State of Wisconsin at the

time this action is commenced.

                                            IV.   FACTS

       21.     IRM regularly engages in the collection of defaulted consumer debts alleged to be

owed to others.

       22.     IRM is a business the principal purpose of which is the collection of defaulted

consumer debts.

       23.     In attempting to collect debts, IRM uses instruments of interstate commerce such

as the mail, telephone, and the Internet.

       24.     During all times pertinent hereto, PICCIONE (a) created the collection policies

and procedures used by IRM, and its respective employees and agents, in connection with its



                                                                     Page 4 of 9
          Case 1:20-cv-01466-WCG Filed 09/18/20 Page 4 of 9 Document 1
efforts to collect consumer debts, (b) managed or otherwise controlled the daily collection

operations of IRM, (c) oversaw the application of the collection policies and procedures used by

IRM and its employees and agents, (d) drafted, created, approved and ratified the tactics and

scripts used by IRM and its employees and agents to collect debts from consumers, including the

tactics and scripts that were used to attempt to collect an alleged debt from Plaintiff as alleged in

this complaint, (e) ratified the unlawful debt collection practices and procedures used by IRM

and its employees and agents in connection with their efforts to collect consumer debts, and (f)

had knowledge of, approved, participated in, ratified and benefitted financially from the unlawful

debt collection practices used by IRM and its employees and agents in their attempts to collect an

alleged debt from Plaintiff as alleged in this complaint.

       25.      IRM transmitted via electronic means a communication on September 30, 2019

(the “Communication”) to NEUBAUER.

       26.      A true and correct copy of the Communication is attached as Exhibit A, except

that portions are redacted.

       27.      The Communication sought to collect a defaulted financial obligation (the

“Debt”).

       28.      The alleged Debt arose out of one or more transactions in which the money,

property, insurance, or services that were the subject of the transaction were primarily for

personal, family, or household purposes.

       29.      NEUBAUER has never incurred any financial obligations in any business

transaction or in any transactions other than ones which were for personal, family, or household

purposes.

       30.      The Debt was placed with IRM for purposes of collection.




                                                                       Page 5 of 9
            Case 1:20-cv-01466-WCG Filed 09/18/20 Page 5 of 9 Document 1
          31.   The Communication offered to settle the Debt on the condition that NEUBAUER

make the settlement payment that very day:

                   Pursuant to our discussion and our client’s approval we are
                   authorized to offer you a settlement on the above referenced
                   account. Upon receipt of cleared funds, your account will be
                   considered settled in full. Each payment must be received in
                   our office no later than the close of business on the date
                   indicated below. This offer represents a substantial savings
                   over the actual amount of $4,178.34 owed and is an
                   opportunity for you to take care of this obligation at a greatly
                   reduced cost. If payments are not received in the indicated
                   amounts and on or before the date due, this offer is hereby
                   revoked, and Integrity Recovery Management is under no
                   further obligation to honor the terms of this offer.

                   $2,114.17 due on 09/30/19 for paid in full and removed from
                   all credit reports.

          32.   IRM created a sense of urgency characteristic of one-time take-it-or-leave-it

settlement offers by offering to settle at a discount on the condition that payment was received

the same day as the offer, September 30, 2019.

          33.   The Communication’s settlement offer was false, deceptive, and misleading

because it causes the unsophisticated consumer to think that if payment of the reduced amount is

not made by the deadline, there will be no further chance to settle the Debt for less than the full

amount.

          34.   The misleading sense of urgency was increased by the statement “If payments are

not received in the indicated amounts and on or before the date due, this offer is hereby revoked,

and Integrity Recovery Management is under no further obligation to honor the terms of this

offer.”

          35.   In fact, IRM could and would renew the settlement offer unless the Debt were

recalled by the creditor or Plaintiff sought the protection of the bankruptcy laws.




                                                                       Page 6 of 9
            Case 1:20-cv-01466-WCG Filed 09/18/20 Page 6 of 9 Document 1
       36.      IRM’s settlement offer is materially false, deceptive, and misleading, because it

influences the unsophisticated consumer’s decision to pay the debt.

       37.      The Communication is materially false, deceptive, and misleading to an

unsophisticated conumer “[b]ecause these consumers must often make difficult decisions about

how to use scarce financial resources, it is plausible that the fear of ‘late charges and other

charges’ might influence these consumers’ choices.” Boucher v. Fin. Sys. of Green Bay, Inc., 880

F.3d 362, 368 (7th Cir. 2018).

       38.      A rational person with limited financial resources would, based on the

Communication, choose to pay the Debt over an otherwise identical debt in which the

Communication transmiting the offer did not communicate the false impression the offer was a

one-time take-it-or-leave-it offer.

       39.      The Communication deprived NEUBAUER of truthful, non-misleading

infromation in connection with IRM’s and PICCIONE’s attempt to collect a debt.

                     V.   CAUSE OF ACTION FOR VIOLATION OF
                    THE FAIR DEBT COLLECTION PRACTICES ACT

       40.      The factual allegations in the preceding paragraphs are realleged and incorporated

by reference.

       41.      IRM is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       42.      PICCIONE is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       43.      The Debt is a “debt” as defined by 15 U.S.C. §1692a(5).

       44.      NEUBAUER is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       45.      Exhibit A is a “communication” as defined by 15 U.S.C. § 1692a(2).

       46.      The use and mailing of Exhibit A by Defendants violated the FDCPA in one or

more following ways:


                                                                     Page 7 of 9
          Case 1:20-cv-01466-WCG Filed 09/18/20 Page 7 of 9 Document 1
             (a)     Using a false, deceptive, or misleading representation or means in

                     violation of 15 U.S.C. § 1692e;

             (b)     Using a false misrepresentation of the character, amount, or legal status of

                     a debt in violation of 15 U.S.C. § 1692e(2)(A);

             (c)     Using a false representation or deceptive means to collect or attempt to

                     collect a debt in violation of 15 U.S.C. § 1692e(10);

             (d)     Collecting a debt using unfair means in violation of 15 U.S.C. § 1692f.

                              VI.      PRAYER FOR RELIEF

      47.    WHEREFORE, Plaintiff demands judgment against, Defendants, IRM and

PICCIONE. Specifically Plaintiff requests entry of an Order:

             (a)     Awarding statutory damages to Plaintiff pursuant to 15 U.S.C.

                     § 1692k(a)(2)(A);

             (b)     Awarding attorney’s fees, litigation expenses, and costs pursuant to 15

                     U.S.C. § 1692k(a)(3);

             (c)     Awarding, to the extent the recovery of reasonable attorneys’ fees,

                     litigation expenses, and costs pursuant to 15 U.S.C. § 1692k(a)(3) causes a

                     negative tax consequence to Plaintiff, a sum sufficient to ameliorate such

                     consequences; and,

             (d)     Ordering such other and further relief as may be just and proper.

                                    VII.   JURY DEMAND

      48.    Trial by jury is demanded on all issues so triable.




                                                                   Page 8 of 9
        Case 1:20-cv-01466-WCG Filed 09/18/20 Page 8 of 9 Document 1
                                                   s/Francis R. Greene
Dated: September 18, 2020                           Francis R. Greene
                                     Francis R. Greene (WI Bar # 1115577)
                                     Philip D. Stern (NJ Bar # 045921984)
                                     Andrew T. Thomasson (NJ Bar # 048362011)
                                     Katelyn B. Busby (AR Bar #2014155)
                                           Attorneys for Plaintiff, Tanya Neubauer
                                     STERN•THOMASSON LLP
                                     3010 South Appleton Road
                                     Menasha, Wisconsin 54952
                                     Telephone (973) 379-7500
                                     E-mail: Francis@SternThomasson.com
                                     E-mail: Philip@SternThomasson.com
                                     E-mail: Andrew@SternThomasson.com
                                     E-mail: Katelyn@SternThomasson.com




                                                                  Page 9 of 9
       Case 1:20-cv-01466-WCG Filed 09/18/20 Page 9 of 9 Document 1
